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FREES
024i (Rev. 8/88) PETITION UNDER 28 USC § 2254 FOR WRIT(OR SISTRICT COUR!
ev. [ - TE . Py PTET A
AQ 2 HABEAS CORPUS BY A PERSON IN STATE CUSTOBYD. N.Y. SUEFALO
_« - ~ 4 - District . .
Western District of New York
United States District Court PAPEESSY i UOHs
Name adam Bennefield Prisoner NOD 9B2792 . ase No.
Place of Confinement
Wende Correctional Facility, PO Box 1187,
Alden, NY 14004-1187
Name of Petitioner (include name under which convicted) Name of Respondent (authorized person having custudy of petitioner)
Adam Bennefield Superintendent Robert Kirkpatriadk
Vv. Wende Correctional Facility
Superintendent
The Attorney General of the State of:
Eliot L. Spitzer
PETITION

1. Name and location of court which entered the judgment of conviction under attack EXie County Surpreme

 

Court, The Erie County Building., 25 Delaware Ave-., Buffalo, NY 14202

 

2. Date of judgment of conviction November 17 _2000

3. Length of sentenceZ concurrent 15 year terms + 2-6 years

4, Nature of offense involved.(all counts) 2 kidnapping 2nd degree(Penal law §135.20),

Criminal Use of a firearm 1st degree(Penal Law(§265,.09[1]{h]),

2nd Ind Escape ist (PL §205.15))
2 unauthorized use of a notor (PL 82 in bdo first degree(penal 165.08)

burglary in the 2nd degree(Penal Law§140.25[2]).Robbery 3rd (PL 160.05)
5, What was your plea? (Check one). _ ,

(a) Not guilty 0
(b) Guilty i
(c) Nolo contendere O

It you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:
2 counts of attemptted 2nd degree kidnapping; on the other

indictment escape in the lst degree.

6. Ifyou pleaded not guilty, what kind of trial did you have? (Check one)
(a) Jury q
(b) Judge only O

7. Did you testify at the trial?
Yes O No O

8. Did you appeal from the judgment of conviction?

Yes &% No 0

 

 

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9. Ifyou did appeal, answer the following:

(a) Name of court Supreme Court, 4th Judicial Department.

(b) Result Affirmed the decision. :
306 A.D-2d 906, 761 N.Y-S.2d 904

(c) Date of result and citation, if known 306 A.D.2d 912, 761 N.¥.S-2d 909

(d) Grounds. raised Guilty pleas were entered involuntarily; Any purported

waiver of appellant's right to appeal invalid, sentence harsh and exc

(e) lt you sought turther review of the decision un appeal by a higher state court, please answer the following:

(1) Name of court New York State Court of Appeals

(2) Result Affirmed the decision.

 

(3) Date of result and citation, if known 9/18/2003, 100 N.¥.2d 617

(4) Grounds raised Guilty pleas were entered involuntarily; Any purported

waiver of appellant's right to appeal invalid, sentence harsh and exc

(f) If you filed a petition for certiorari in the United States Supreme Court, please answer the following with respect to
each direct appeal: - ‘
N/A
(1) Name of court

so N/A
(2) Result

4
—

 

(3) Date of result and citation, if known

 

(4) Grounds raised N /A

 

10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed. any petitions,
applications, or motions with respect to this judgment in any court, state or federal?
Yes R} No O ,

11. If your answer to 10 was “yes,” give the following information:

(a) (1) Name of court Erie County Supreme Court

(2) Nature of proceeding 440.10 and 440.20 motion

 

(3) Grounds raised Ineffective Assistance Of Counsel, Involuntary Guilty

Plea, Double Jeopardy, Denial of Public Trial

 

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(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes O No ®

(5) Result Denied with Memorandum and Order

(6) Date of result Dec - 12 o 2005

(b) As to any second petition, application or motion give the same information:

 

(1) Name of court

 

(2) Nature of proceeding

 

 

(3) Grounds raised

 

 

 

 

(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes O No OQ
{5) Result N/A

(6) Date of result N/A

(c) Did you appeal to the highest state court having jurisdiction the result of action taken on any petition, application or

motion? in
(1) First petition, etc. YesO No N.
(2) Second petition, etc. Yes No N/A

(d) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:

 

 

 

12. State concisely every ground on which you claim that you are being held unlawfully. Summarize briefly the facts supporting
each ground. If necessary, you may attach pages stating additional grounds and facts supporting same.

CauTION: In order te proceed in the federal court, you must ordinarily first exhaust your available state court remedies

as to each ground on which you request action by the federal court: If you fail to set forth all grounds in this petition, you may

be barred from presenting additional grounds at a later date.

 

 

 

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For your information, the following is a list of the most frequently raised grounds for relief in habeas corpus proceedings.
Each statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you
may have other than those listed if you have exhausted your state court remedies with respect to them. However, you should
raise in this petition all available grounds (relating to this conviction) on which you base your allegations that you are being
held in custody unlawfully.

Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts. The
petition will be returned to you if you merely check (a) through (j) or any one of these grounds.

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily with understanding of the
nature of the charge and the consequences of the plea.

(b) Conviction obtained by use of coerced confession.

(c) Conviction obtained. by use of evidence gained pursuant to an unconstitutional search and: seizure.

(d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.

(e) Conviction obtained by a violation of the privilege against self-incrimination.

(f) Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable to
the defendant.

(g) Conviction obtained by a violation of the protection against double jeopardy.

th) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
(i) Denial of effective assistance of counsel. , .

(j) Denial of right of appeal.

A. Ground one: The defendant was denied effective assistance of counsel.

 

Supporting FACTS (state briefly without citing cases or jaw) DE fense Counsel failed to

provide the defendant with a defense, failed to tell the defendant

of all direct consequences of the plea, counsel failed to do an
independent investigation into the facts of the case, provide ype

of defense that was available to the defendant, failed to investigate
witnesses and people favorable to the defendants defenses available,

and failed to protect the defendant against double jeopardy.

B. Ground two: Conviction was obtained by plea of guilty that was unlawfully
-induced and was not knowing, not voluntary and not intelligently made.
Supporting FACTS (state briefly without citing cases or law): The court, the people and the
defense counsel did not tell the defendant of all the direct
consequences of the plea and unlawfully induced the plea, they also
forced the defendant to plead guilty by not allowing him to present
the defense of his choice which the evidence supported, while also.

prosecuting the defendant twice with the same charges from the same

elements and time, even know that it was unlawful, and also did not

 

abide hv the aoreement. that was made per the plea,

 

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C. Ground three: Denial of the right to not be prosecuted twice for the

same crimes.

Supporting FACTS (state briefly without citing cases or law): The defendant was prosecuted

twice by the same crimes based _on the same docket number. The defendan

plead guilty in one court to some charges and subsequently charges
based on the’same docket number, the defendant was again sentenced
to a term of sentence, even as the second time the defendant was

sentenced on other charges in satisfaction of all the charges on the

indictment, which included the same instances and charges sent. to as b

D.. Ground four
The defendant was denied his right to have a trial (have his plea

 

taken in open court) in open court.
Supporting FACTS (state briefly without citing cases or law): The court took the defendants

plea inside the court chambers, did not allow any of the public
to attend and failed to give their reason for this in Open Court
nor allow the public to attend or voice opposition in regards to

not being able to attend the trial (plea) proceedings.

 

 

13. If any of the grounds listed in 12A, B, C, and D were not previously presented in any other court, state or federal, state briefly
what grounds were not so presented, and give your reasons for not presenting them:

N/A still pending

 

 

 

14. Do you have any petition or appeal now pending in any court, either state or federal, as to the judgment under attack?
Yes i No O

15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked
herein:

 

(a) At preliminary hearing

 

Atty: Paul Dell o/c Alan D. Goldstein
(b) At arraignment and plea . :

 

Afore

 

 

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(c) At trial

 

AttY? paul Dell o/c Alan D. Goldstein
(d) At sentencing

 

 

Atty. Kristin Preeve, Public Appeals Defender

 

(e) On appeal

 

we _, N/A
(f) In any post-conviction proceeding

 

 

. as . N/A
(g) On appeal from any adverse ruling in a post-conviction proceeding

 

 

16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at the

same time?
Yes M NoO

17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?

' YesQ NoW .
‘(a) If so, give name. and location of court which imposed sentence to be served in the future: N/A

 

 

(b) Give date and length of the above sentence: N/A

 

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(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be

served in the future?
Yes No O

Wherefore, petitioner prays that the Court grant petitioner relief to which/he/may be ghtifled inthis vroceéding.

 

7 TF
Signature Ue Attorney (if any)

Pebiis 10 2WS

I declare under penalty of perjury that the foregoing i is true and correct. Executed on So

  

 

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